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                       MILMAN LABUDA LAW GROUP PLLC
                                       3000 MARCUS AVENUE
                                             SUITE 3W8
                                      LAKE SUCCESS, NY 11042
                                              _________

                                     TELEPHONE (516) 328-8899
                                     FACSIMILE (516) 328-0082
                                                                              June 20, 2023
 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Lois Bloom, U.S.M.J.
 225 Cadman Plaza East
 Courtroom 11A South
 Brooklyn, NY 11201-1804

         Re:    Stidhum v. 161-10 Hillside Auto Ave, LLC, et al.
                Case No.: 1:21-cv-7163 (HG) (RLM)
                MLLG File No.: 94-2019            ____________

 Dear Judge Bloom:

         This office represents the Defendants in the above-referenced case. This letter shall serve
 as Defendants’ letter response in opposition to Plaintiff’s motion for sanctions for alleged
 spoliation. Plaintiff’s motion should be denied because: (i) Defendants have not destroyed any
 evidence; (ii) the records sought were misplaced before this litigation was reasonably foreseeable;
 (iii) Defendants have done diligent searches that do not give rise to the relief sought by Plaintiff;
 and (v) the evidence Plaintiff seeks is irrelevant and cumulative of evidence already produced.

 Facts

        Following depositions in February and March 2023, and despite the fact this Court stated
 at a February 1, 2023 conference that no post-deposition discovery is permitted, Plaintiff served
 her second and third requests for the production of documents on February 26, 2023 and March
 14, 2023, respectively. See ECF Docket Entries 57 at 41:5-16, 58-3, and 58-4. Defendants
 objected on the grounds that this Court expressly forbid post-deposition discovery. See ECF
 Docket Entry 67 at 2.

         Notwithstanding, on April 3, 2023, this Court entered an Order: (i) requiring production of
 car sales logs1 for the relevant time period; and (ii) compelling the production text messages2
 between parties that pertain to plaintiff or to pregnancy discrimination, i.e., any text messages
 responsive to plaintiff's second set of document requests, request nos. 3-6 [ECF No. 58-3 at 11],
 and third set of document requests, request nos. 3-6, 8 [ECF No. 58-4 at 11].

 1
  The Order did not specify whether monthly or weekly, and Defendants produced the remaining
 monthly sales logs. See ECF Docket Entry 67 at 3.
 2
  As set forth in Defendants’ April 26, 2023 letter, Defendants produced all text messages on the
 day of each witnesses deposition.
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         Although the text messages were produced, as well as the complete set of monthly sales
 logs in compliance with the April 3, 2023 Order, Plaintiff filed successive letter motions for
 sanctions. See ECF Docket Entries 61 and 66. This prompted the Court to schedule a conference
 on May 4, 2023. See Text Only Orders dated April 18, 2023, April 21, 2023, and April 27, 2023.
 At the May 4, 2023 conference, this Court denied Plaintiff’s motions for sanctions and required
 Defendants to search for and produce weekly sales logs and/or any other text messages and emails
 or provide a declaration as to the searches conducted by noon on May 17, 2023. See Text Only
 Orders dated May 4, 2023. Defendants searched for the requested documents but could not find
 any such documents. Defendants timely complied with this Order by providing the declarations
 of Defendants Ishaque Thanwalla (“Thanwalla”), Jory Baron (“Baron”), Andris Guzman
 (“Guzman”), and Deana Jennings (“Jennings”) (the designated corporate representative of the
 corporate Defendants) explaining the scope of the search and that no responsive documents were
 found. See ECF Docket Entries 73-1, 73-2, 73-3, and 73-4. The declarations provide that each
 Defendant: (i) searched his or her cellular phone for responsive text messages and did not find any
 other responsive text messages; (ii) searched his or her email inbox for responsive text messages
 and did not find any responsive emails; and (iii) with respect to the declarations of Thanwalla and
 Jennings,3 they both searched for weekly sales logs in multiple locations but were unable to find
 them.

         Upon being provided with these declarations, Plaintiff complained that Jennings’
 declaration is insufficient and wanted to inquire about the circumstances of how the weekly sales
 logs were lost or destroyed, and separately raised an issue about the failure to reference the search
 terms set forth in her second and third requests for the production of documents. In response, on
 June 2, 2023, Jennings submitted a supplemental declaration. See ECF Docket Entry 73-5. There,
 she explained that she used the search terms on her cellular phone and her email inbox and found
 no responsive text messages or emails. Id. at ¶¶ 4-12. She also described in detail how she
 conducted a search for the weekly sales logs and was unable to find them, even after conducted
 another supplemental search on May 9, 2023 at both an outside storage facility and at the
 dealership. Id. at ¶¶ 13-18.

         Upon being provided with this declaration, Plaintiff raised additional concerns that: (i) the
 remaining Defendants failed to provide a declaration as to whether they used the key words for
 their searches; (ii) Defendants did not specify whether they searched for text messages or emails
 related to the Plaintiff or pregnancy discrimination despite the fact Plaintiff provided key words
 for Defendants to use; and (iii) there was insufficient details concerning the efforts to search for
 the weekly sales logs. Defendants offered to once more conduct a search as to both the electronic
 communications and weekly sales logs and provide more detailed declarations.

        On June 19, 2023, Defendants submitted the supplemental declarations of Thanwalla,
 Baron, Guzman, and Jennings (second supplemental) outlining their search efforts. See
 supplemental declarations of the Defendants, sans exhibits, annexed hereto as Exhibits “A,” “B,”
 “C,” and “D.” As set forth in the supplemental declarations, despite a diligent search, the
 weekly sales logs could not be found except for one such log, which was produced.


 3
  Defendants Baron (a partner who is not involved with employees) and Guzman (a former
 employee) were not responsible for maintaining such records and did not search for them.


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         In order to confirm full compliance with the Court’s Order and Plaintiff’s discovery
 requests, as set forth in the supplemental declarations, on Friday, June 9, 2023, your undersigned
 met with Defendants Thanwalla and Baron to personally oversee another search of their cellular
 phones for responsive text messages and email inboxes for responsive emails. That same Friday,
 your undersigned separately met with Jennings to personally oversee her additional search of her
 cellular phone for responsive text messages and email inboxes for responsive emails. Finally, on
 the evening of Monday, June 12, 2023, your undersigned met with Defendant Andris Guzman to
 personally oversee his additional search of his cellular phone for responsive text messages and
 email inboxes for responsive emails.

         As outlined further below, Defendants believe the 2018 weekly sales logs were misplaced
 years ago when Jennings ceased serving as a part-time controller at 161-10 Hillside Auto Ave LLC
 (“Hillside Auto Outlet”) and returned to work full-time at Hillside Auto Mall Inc. (“Hillside Auto
 Mall”).4 Thanwalla sent these logs from Hillside Auto Outlet Jennings, but Jennings never
 received them at her office at Hillside Auto Mall. Defendants engaged in a thorough and diligent
 effort to search, locate, and provide Plaintiff with these weekly sales logs but were only able to
 locate one weekly sales log pertaining to Plaintiff and produced it to her counsel on June 19, 2023.

 Legal Standard

         “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve
 property for another's use as evidence in pending or reasonably foreseeable litigation.” See West
 v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999). Rule 37 of the Federal Rules
 of Civil Procedure (hereinafter referred to as “Rules” or “Rule”) allows a district court to impose
 sanctions when a party spoliates evidence in violation of a court order, but even without a
 discovery order, a district court may impose sanctions for spoliation under its inherent power to
 manage the litigation. See id. (collecting cases); see also Fed. R. Civ. P. 37(b)(2).

         To succeed on a spoliation motion, the movant must show “(1) that the party having control
 over the evidence had an obligation to timely produce it; (2) that the party that failed to timely
 produce the evidence had ‘a culpable state of mind’; and (3) that the missing evidence is ‘relevant’
 to the party’s claim or defense such that a reasonable trier of fact could find that it would support
 that claim or defense.” See Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 107
 (2d Cir. 2002)). Relevance in this context “means something more than sufficiently probative to
 satisfy Rule 401 of the Federal Rules of Evidence.” Id. at 108–09. In particular, it requires the
 moving party to “adduce sufficient evidence from which a reasonable trier of fact could infer that
 ‘the [unavailable] evidence would have been of the nature alleged by the party affected by its
 destruction.’” Id. at 109 (quoting Kronisch v. United States, 150 F.3d 112, 127 (2d Cir. 1998)).

         Severe sanctions, such as an adverse inference (which is what Plaintiff seeks here) are only
 available under Rule 37(e)(2), and must be grounded on a finding that the non-moving party “acted
 with the intent to deprive another party of the information's use in the litigation.” See Rule 37(e)(2)
 (emphasis added).


 4
  These two dealerships are about four (4) blocks away from each other, and – apart from having
 two common owners – are distinct dealerships that operate separately.


                                                    3
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        If the evidence does not support a finding that a party acted with the requisite intent to
 deprive, then the Court is limited to awarding less severe sanctions under Rule 37(e)(1), that are
 “no greater than necessary to cure the prejudice” caused by the spoliation. Id.

 No Spoliation Occurred Because the Records Were Misplaced Before This Suit Began5

          Plaintiff’s spoliation motion fails because she failed to prove that Defendant had control
 over the evidence after the lawsuit was filed and failed to timely produce the evidence with a
 culpable state of mind. See Residential Funding Corp., 306 F.3d at 107. As set forth in the
 declarations of Thanwalla, he believed that Jennings kept the records when she ceased working
 part-time at Hillside Auto Outlet at Hillside Auto Mall. See ECF Docket Entry 73-4 at ¶¶ 7-10;
 see also Exhibit A. Jennings searched for the records at Hillside Auto Mall and an outside storage
 facility on May 9, 2023 but was unable to find them. See ECF Docket Entry 73-5 at ¶¶ 13-17; see
 also Exhibit D. Plaintiff has not provided any evidence nor a basis to believe that the records
 sought were lost after she first filed suit in September 2019. Indeed, it appears that the records
 were lost or misplaced when Jennings ceased working at Hillside Auto Outlet part-time and
 returned to work full-time at Hillside Auto Mall, which occurred in or about early 2019, well
 before Plaintiff’s September 2019 lawsuit.

        Further, a party cannot produce records that it does not have, and given the diligent search
 and multiple declarations attesting to the efforts made to find these documents, there is no basis
 for sanctions. See Uni-Sys., LLC. v. U.S. Tennis Assn., Inc., No. 17-CIV.-147 (KAM) (CLP),
 2020 WL 8266015, at *6 (E.D.N.Y. July 6, 2020) (“Given that Hardesty has represented that it
 does not have the ‘missing’ documents, the Court cannot order Hardesty to produce what it does
 not have. The Court Orders Hardesty to submit an affidavit from a records custodian, affirming
 that Hardesty conducted the ESI search according to the previously-agreed-to search terms and
 custodians, and that it has produced all responsive documents in its possession, custody and control
 … At this time, the Court finds no basis on which to impose sanctions, and therefore denies
 Hardesty's request for sanctions”). As such, Plaintiff’s motion must be denied on this ground.

 The Misplaced Records are Irrelevant to Plaintiff’s Claims

        It must also be mentioned that Plaintiff has not articulated any real need for the documents
 sought, establishing the relevance of same, nor any prejudice as a result of not having them.



 5
   Plaintiff’s motion must also be denied as premature, as she failed to wait until receiving the
 aforementioned supplemental declarations before seeking relief from this Court. See Raymond v.
 City of New York, No. 15-CIV.-6885 (LTS) (SLC), 2020 WL 1067482, at *9 (S.D.N.Y. Mar. 5,
 2020), reconsideration denied, 2020 WL 1847556 (S.D.N.Y. Apr. 13, 2020), and objections
 overruled, 2020 WL 3619014 (S.D.N.Y. July 2, 2020), and objections overruled, 2020 WL
 3619014 (S.D.N.Y. July 2, 2020) (Plaintiffs’ counsel's refusal to cooperate in meet and confer
 sessions contributed in part to the problem. Therefore, neither of Plaintiffs’ proposed orders—
 striking Defendants’ Answer or an adverse inference—would be just in this instance, where one
 party failed to comply with the Court's Order, but the other party seems to have frustrated the
 compliance”).


                                                  4
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         Plaintiff claims in her instant papers in support that her “discrimination case6 heavily relies
 on showings of disparate impact and/or discriminatory animus, both of which require the evidence
 that the Defendants refuse to produce.” But Defendants have already produced Plaintiff’s and all
 other salespersons paystubs evidencing how much each salesperson earns in salary and
 commissions,7 such that the evidence sought here is cumulative. See Richard Green (Fine
 Paintings) v. McClendon, 262 F.R.D. 284, 291 (S.D.N.Y. 2009) (quotation omitted) (rejecting
 motion for spoliation sanctions where there was no evidence that any of the lost or destroyed
 documents would have been unfavorable to defendant); see also Passlogix, Inc. v. 2FA Tech.,
 LLC, 708 F. Supp. 2d 378, 414 (S.D.N.Y. 2010) (same); Khaldei v. Kaspiev, 961 F. Supp. 2d 564,
 570 (S.D.N.Y. 2013) (“[B]ecause plaintiff's argument that there has been any actual loss of
 evidence relevant to the claims or defenses in this case amounts to pure speculation, it is
 insufficient to sustain a motion for spoliation sanctions”).

         To the extent that Plaintiff believes that there may be evidence of discrimination in weekly
 sales logs that is somehow not evident from comparing her paystubs with all the other salespersons
 working at Hillside Auto Outlet at the same time, “she cannot establish her right to sanctions by
 claiming that Defendants’ conduct deprived her of a pond in which she would like to have gone
 on a fishing expedition.” See New York State Nat. Org. for Women v. Cuomo, No. 93-CIV.-7146
 (RLC) (JCF), 1998 WL 395320, at *3 (S.D.N.Y. July 14, 1998) (internal quotations and alterations
 omitted). Moreover, “for sanctions to be appropriate, it is a necessary, but insufficient, condition
 that the sought-after evidence actually existed and was destroyed.” See Farella v. City of New
 York, Nos. 05-cv-5711 (NRB) & 05-cv-8264 (NRB), 2007 WL 193867, at *2 (S.D.N.Y. Jan. 25,
 2007). Accordingly, Plaintiff’s motion to compel and for sanctions must be denied.

        Defendants thank this honorable Court for its time and attention to this case.

 Dated: Lake Success, New York
        June 20, 2023                           Respectfully submitted,
                                                MILMAN LABUDA LAW GROUP PLLC
                                                _______/s/_Emanuel Kataev, Esq.__________
                                                Joseph M. Labuda, Esq.
                                                Emanuel Kataev, Esq.
                                                3000 Marcus Avenue, Suite 3W8
                                                Lake Success, NY 11042-1073
                                                (516) 328-8899 (office)
                                                (516) 328-0082 (facsimile)
                                                emanuel@mllaborlaw.com
                                                joe@mllaborlaw.com

                                                Attorneys for Defendants


 6
   It must be noted that Plaintiff also commenced a state court action against the Defendants for
 alleged wage-and-hour violations, which action remains pending.
 7
   Each salesperson receives a separate check for salary and commissions on a weekly basis, with
 the paystub clearly marked.


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 VIA ECF
 Troy Law, PLLC
 Attn: John Troy, Tiffany Troy, and Aaron Schwietzer, Esqs.
 4125 Kissena Boulevard, Suite 103
 Flushing, NY 11355-3101
 johntroy@troypllc.com
 tiffanytroy@troypllc.com
 troylaw@troypllc.com

 Attorneys for Plaintiff




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               EXHIBIT A
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                   EXHIBIT B
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                   EXHIBIT C
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                   EXHIBIT D
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------){
 LETICIA FRANCINE STIDHUM,                                             Case No.: 1:21-cv-7163 (HG) (LB)
                                          Plaintiff,
                                                                       SECOND SUPPLEMENTAL
                   -against-
                                                                       DECLARATION OF
 161-10 HILLSIDE AUTO AVE, LLC d/b/a Hillside
                                                                       DEANA JENNINGS
 Auto Outlet, HILLSIDE AUTO MALL INC. d/b/a
 Hillside Auto Mall, ISHAQUE THANWALLA,
 JORY BARON, RONALD M. BARON, and
 ANDRIS GUZMAN,

                                          Defendants.
 -----------------------------------------------------------------){
         Deana Jennings declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the

 following is true and correct:

          1.      I am the designated corporate representative of Defendants 161-10 Hillside Auto

 Ave, LLC d/b/a Hillside Auto Outlet (hereinafter "Hillside Auto Outlet") and Hillside Auto Mall

 Inc. d/b/a Hillside Auto Mall ("Hillside Auto Mall") (Hillside Auto Outlet and Hillside Auto Mall

collectively hereinafter the "Corporate Defendants") in the above-referenced case, and have served

as a part-time controller for Hillside Auto Outlet during the time Plaintiff worked there and have

also served as a controller for Hillside Auto Mall, where I remain employed today.

         2.       As such, I am familiar with all the facts and circumstances heretofore had herein

based upon my personal knowledge and a review of the documents I maintain at Hillside Auto

Mall as well as at Hillside Auto Outlet during my tenure there. I submit this declaration to

supplement my prior declarations dated May 17, 2023 and May 30, 2023.

Search of Text Messages and Emails

         3.       As I have previously declared twice, I have conducted a search of my telephone for

all text messages related to the Plaintiff or pregnancy discrimination.
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                                                                                                                  1
                    4.       My search consisted of the following key words using my phone's search function:

      (i) pregn*; (ii) sonog*; (iii) expect*; (iv) carry*; (v) "eating for two;" (vi) pea; (vii) bun; (viii)

      Family; (ix) Leticia; (x) Stidhum; (xi) wom*n; (xii) wife; (xiii) female.

                5.          When I initially conducted this search, I omitted the wild cards(*) in search terms

     (i), (ii), (iii), and (iv), and searched for "women" or "woman" for the search term (xi).

               6.           None of these key words returned any text messages related to the Plaintiff or

    pregnancy discrimination.

               7.          Thus, I am not in possession, custody, or control of any responsive text messages.

              8.           I also searched my emails and am not in possession, custody, or control of any

    emails responsive to the requests, i.e., relating to Plaintiff or pregnancy discrimination.

           9.              My search consisted of the following key words using my email's search function:

   (i) pregn*; (ii) sonog*; (iii) expect*; (iv) carry*; (v) "eating for two;" (vi) pea; (vii) bun; (viii)

   Family; (ix) Leticia; (x) Stidhum; (xi) wom*n; (xii) wife; (xiii) female.

          10.             None of these key words returned any emails related to the Plaintiff or pregnancy

  discrimination.

         11.              Thus, I am not in possession, custody, or control of any responsive emails.

         12.             As I previously declared, I do not recall exchanging any emails with the Plaintiff,

 so it makes sense that I did not find any.

         13.             I conducted the instant search of text messages and emails together with counsel

for the Defendants on June 9, 2023.

        14.
                         We determined together that none of the texts or emails that came up with the

foregoing search words related to Plaintiff nor pregnancy discrimination.




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     Weekly Sales Logs Search
                                                                                      f Hillside Auto Outlet
                 15.      Similarly, I conducted a search for the weekly sa1es 1ogs 0

     and am unable to find them.
                 16.      I previously recalled that we moved those and other records to an outside storage

    facility due to construction at Hillside Auto Mall.
                                                             · predates the Plamtl
                          However, upon review, the construct10n               · ·fr s employment at
               17.

    Hillside Auto Outlet, which indicates that we did not have to move these weekly sales logs to any

    outside storage facility.
              18.        Further, as I previously declared, I searched that outside storage facility for these

   records on May 9, 2023 after I could not find them at both dealerships, i.e., Hillside Auto Outlet

   and Hillside Auto Mall.

            19.          I was unable to find the records at either dealership nor at the outside storage

   facility, except I am aware that Defendant lshaque Thanwalla found some 2019 weekly sales logs

  at Hillside Auto Outlet's on-site storage facility upon another search at that dealership.

           20.          While I am uncertain as to where the May 2018 to January 2019 weekly sales logs

  may be stored and have no knowledge nor recollection as to where they are kept, I conducted

 another search in the following places where I keep records.

           21.         My most recent search took approximately six (6) hours.

         22.           Specifically, there are two offices at Hillside Auto Mall where records are kept.

        23.            The first office has about seven boxes consisting of 2022 deal jackets for cars sold

in 2022.

        24.            I searched this office and all the boxes within it for the weekly sales logs of Hillside

Auto Outlet and did not find any.




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            25.     The second office has about four boxes consisted of 2023 deal jackets for cars sold

   in 2023 year to date. I searched this office and all the boxes within it for t~e weekly sales logs of

   Hillside Auto Outlet and did not fmd any.
          26.      In addition, we have a storage area on-site at Hillside Auto Mall.

          27.      Specifically, there is a space under the stairs leading up to our office where we kept

  records stored in boxes until we moved same to an outside storage facility due to construction

  being done at Hillside Auto Mall from approximately September 2017 through February 2018,

  which predates Plaintiffs employment with Hillside Auto Outlet that started in May 2018.

          28.      At the time I conducted a search, there were no boxes or documents in the on-site

  storage area.

         29.       I also conducted a thorough search of our off-site storage facility, where we have

  two rooms that are approximately 10' x 10' each.

         30.      The first room in the off-site storage facility has two filing cabinets, four cabinet

 drawers, and approximately fifty boxes.

         31 .     The second room in the off-site storage facility has three filing cabinets and

 approximately sixty boxes.

        32.       On June 6, 2023, I conducted another search of the off-site storage facility .

       . 33.      With the help of another employee, I searched every box, filing cabinet, and cabinet

drawer, but we did not find any weekly sales logs from May 2018 through January 2019.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on June

lq '2023.




                                                     4
